Case 08-14631-GMB              Doc 457-1 Filed 07/01/08 Entered 07/01/08 15:30:16              Desc
                                  Affidavit of Mailing Page 1 of 2




PERETORE & PERETORE, P.C.
Attorneys for National City Commercial Capital Company, LLC
191 Woodport Road
Sparta, NJ 07871
(973) 729-8991

___/S/ Frank Peretore______
Frank Peretore, Esq.
FP#7020

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
_________________________________________
                                                                 X Case No. 08-14631(GMB)
In re:                                                           : Chapter 11
                                                                 :
                                                                 :
SHAPES/ARCH HOLDINGS, L.L.C. et al.,                             : AFFIDAVIT OF MAILING
                                                                 :
                                                                 :
           Debtors.                                              :
-------------------------------------------------------------X


STATE OF NEW JERSEY                :
                                            : SS.:
COUNTY OF SUSSEX                   :

         I, Marlene Meyers, am over 18 years of age and am not a party to this action, being duly sworn

according to law, SAY:

         1. On July 1, 2008, I mailed a copy of the Objection of National City Commercial Capital

Company, LLC to Notice of Filing of Schedule 8.1 to Debtors’ Third Amended Plan to counsel for the

Debtors via overnight mail as follows:

         Jerrold N. Poslusny, Jr., Esq.
         Cozen O’Connor
         Liberty View, Suite 300
         457 Haddonfield Road
         Cherry Hill, New Jersey 08002
Case 08-14631-GMB         Doc 457-1 Filed 07/01/08 Entered 07/01/08 15:30:16            Desc
                             Affidavit of Mailing Page 2 of 2



which were deposited into a Federal Express Depository located at 191 Woodport Road, Sparta, New

Jersey 07871.

                                            /s/ Marlene Meyers
                                           Marlene Meyers
Sworn to and subscribed
before me this 1st day
of July, 2008.

/s/ Katherine Kolakowksi

Notary Public of New Jersey
My Commission Expires
November 10, 2008
